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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 AMERICAN FEDERATION OF
 GOVERNMENT EMPLOYEES, AFL-
 CIO et al.,

                Plaintiffs,
                                                Civil Action No. 25-cv-10276
        vs.

 CHARLES EZELL, ACTING
 DIRECTOR, OFFICE OF PERSONNEL
 MANAGEMENT, et al..

                Defendants.

                        MOTION FOR CLARIFICATON OF ORDER

       Plaintiffs respectfully move the Court for clarification of its order, ECF No. 60. Therein,

the Court stated: “The Court orders that the current stay of the February 6, 2025, deadline to remain

in effect until further order of the Court. Matter taken under advisement.”

       Plaintiffs request the Court clarify that Defendants must notify the federal employees that

received the Fork in the Road directive that the deadline is stayed pending further order of the

Court as soon as practicable today, February 10, 2025—just as the Court so ordered in issuing the

underlying order on February 6, 2025. Otherwise, some members of the federal workforce might

not receive notice of the extended stay of the deadline.

       CERTIFICATE OF COMPLIANCE

       [Local Rule 7.1]

       Pursuant to Local Rule 7.1(a) and Federal Rule of Civil Procedure 65, counsel for Plaintiffs

certify that they have sent—through Defendants’ counsel notice of this motion. In light of the

emergency character of this motion it has been impractical to meet and confer with Defendants

counsel, but Plaintiffs seek such a conference if Defendant believes a resolution is possible.
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                                             Respectfully submitted,

DATED this 10th day of February, 2025.



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                                   *pro hac vice admission granted Feb. 7,
                                   2025




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                                           Certificate of Service

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the NEF (NEF) and paper copies will

be sent to those indicated as non-registered participants.

       Dated: February 10, 2025                        /s/ Elena Goldstein

                                                      Elena Goldstein




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